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FlLED BY__ D..C
IN THE UNI'I`ED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUN 21 AH 5; aj

 

WEsTERN DIvIsroN
coins u. s. o:sT. cirJ
111 Re ACCREDO HEALTH, INC. W-D OF TN MEMPHIS
sECURITtEs LITIGATION, Civii Action No.; 03-2216-}31>
CLAss AcTIoN

 

This Document Relates to:

ALL ACTIONS

 

, . . ORDER GRANTING PRO HAC WCE ADMISSION
OF RICHARD NICHOLAS RODELLI AS COUNSEL FOR PLAINTIFF

 

The Motion of B. J. Wade Requesting Admission of Richard Nicholas Rodelli Pro Hac
Vice to represent Plaintiff David Stein in this litigation Was brought before this Court for
consideration without a hearing Atter reviewing the Motion and supporting papers, the Court
finds that the same should be GRANTED.

Upon unopposed motion showing adequate cause, it is so ORDERED that Richard
Nicholas Rodelli is hereby admitted pro hac vice to represent Plaintiffs in the consolidated

actions.

_/,b~.
ORDERED THIS THE;Q DAY O , 2005.

/MM

lN'r?D sTATEs olsTRICT JUDGE

 

Date: (Q"'&"d”£`@@j f

Thls document entered on the docks sheet n compliance
with Ru|s 58 and/or 79(a) FF\CP on ta 521 f;':) 1

 

 

June 21 , 2005 to the parties listed.

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Heather Guilette Walser
JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

13. J. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Marc A. Topaz

SCH[FFRIN & BARROWAY
3 13a1a Plaza East

Ste. 400

13a1a Cynwyd7 PA 19004

David A. Thorpe

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Mark Solomon

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Trig R. Smith

LERACH COUGHLIN STOIA GELLER RUDMAN &
401 13 St.

Ste. 1700

San Diego7 CA 92101

Gary K. Smith

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

1\/lemphis7 TN 38103

Case 2:03-Cv-02216-BBD-gbc Document 137 Filed 06/21/05 Page 3 of 9

Kevin Hunter Sharp
PRESTON & SHARP7 P.C.
216 19th Ave.,N.
Nashville, TN 37203

Saul C Saul C. 13elz
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/lemphis7 TN 38103

Samuel H. Rudman

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
200 Broadhollow Rd.

Ste. 406

Melville, NY 11747

David A. Rosenfeld

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
200 Broadhollow Rd.

Ste. 406

Melville, NY 11747

Robert M. Roseman

SPECTOR ROSEMAN & KODROFF, P.C.
1818 Market St.

Ste. 2500

Philadelphia, PA 19103

Richard Nicholas Rodelli

BERNSTEIN LITOWITZ BERGER & GROSSMAN
12544 High 131uff Dr

Ste 150

San Diego7 CA 92130

Darren J Robbins

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Mary-Helen Perry

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Gregory M. Nespole

WOLF HALDENS TEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

NeW York7 NY 10016

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Case 2:03-Cv-02216-BBD-gbc Document 137 Filed 06/21/05 Page 4 019

Michael E. Moskovitz

MUCH SHELIST FREED DENENBERG Al\/[ENT & RUBENSTEIN, P.C.
191 N. Wacker Dr.

Ste. 1800

Chicago, IL 60606--161

David W. Mitchell

LERACH COUGHLIN STOIA GELLER RUDMAN & RO]3]31NS LLP
401 13 St

Ste 1600

San Diego7 CA 92101

Eitan Misulovin

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

NeW York7 NY 10019

Timothy L. Miles

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Douglas M McKeige

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

NeW York7 NY 10019

Erin P. McDaniel

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Richard A. Lockridge

LOCKR]DGE GRINDAL NAUEN7 PLLP
100 Washington Ave., South

Ste. 2200

1\/linneapolis7 MN 55401

Mel E. Lifshitz

BERNSTEIN LIEBHARD & LIFSH[TZ, LLP
10 East 40th Street

NeW York7 NY 10016

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William S. Lerach

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Quitman Robins Ledyard
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

1\/lemphis7 TN 38103

Emily C. Komlossy

GOODKIND LABATON RUDOFF & SUCHAROW
3595 Sheidan St.

Ste. 206

Hollywood, FL 33021

Nancy Kaboolian
A]313EY GARDY, LLP
212 East 39th St.

NeW York7 NY 10016

Douglas S. .1 ohnston

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Fred Taylor lsquith

WOLF HALDENS TEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

NeW York7 NY 10016

Dixie W. lshee

WOOD CARLTON & ISHEE
1407 Union Ave.

Ste. 71 1

1\/lemphis7 TN 38103

Oni A. Holley
ALSTON & 131RD

1201 West Peachtree St.
Atlanta, GA 30309--342

Marc S. Henzel

LAW OFFICES OF MARC S. HENZEL
273 Montgomery Ave.

Ste. 202

13a1a Cynwyd7 PA 19004

Case 2:03-Cv-02216-BBD-gbc Document 137 Filed 06/21/05 Page 6 of 9 Page|D 352

Ronald 13. Hauben
ERNST & YOUNG

5 Times Square
NeW York7 NY 10036--653

Karen M. Hanson

LOCKR]DGE GRINDAL NAUEN7 PLLP
100 Washington Ave., South

Ste. 2200

1\/linneapolis7 MN 55401

Douglas F. Halijan

13URCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Tor Gronborg

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

.1 ohn H. Goselin
ALSTON & 131RD

1201 West Peachtree St.
Atlanta, GA 30309--342

Carol V. Gilden

MUCH SHELIST FREED DENENBERG Al\/[ENT & RUBENSTEIN, P.C.
191 N. Wacker Dr.

Ste. 1800

Chicago, IL 60606--161

.1 ames E. Gauch

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Mark C. Gardy
A]313EY GARDY, LLP
212 East 39th St.

NeW York7 NY 10016

.1 ef Feibelman

13URCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

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Nadeem Faruqi

FARUQI & FARUQI7 LLP
320 East 39th St.

NeW York7 NY 10016

Gregory M. Egleston

BERNSTEIN LIEBHARD & LIFSH[TZ, LLP
10 East 40th Street

NeW York7 NY 10016

Timotny A. DeLange

BERSTEINE LITOWITZ BERGER & GROSSMAN
12544 High 131uff Drive

Ste 150

San Diego7 CA 92130

Martin D. Chitwood

CHITWOOD HARLEY & HARNES LLP
1230 Peachtree St., N.E.

2900 Promenade 11

Atlanta, GA 30309

Stanley M Chernau

CHERNAU, CHAFFIN & BURNSED
424 Church St

Ste 1750

Nashville, TN 37219

F. Guthrie Castle

CASTLE & ASSOCIATES
6555 Quince Rd.

Ste. 109

1\/lemphis7 TN 38119

Karen M. Campbell

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

1\/lemphis7 TN 38103

Linda F 13urnsed

CHERNAU, CHAFFIN & BURNSED
424 Church St

Ste 1750

Nashville, TN 37219

Steven .1. 13rogan

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Case 2:03-Cv-02216-BBD-gbc Document 137 Filed 06/21/05 Page 8 of 9 Page|D 354

Paul Kent 13ram1ett
BRAMLETT LAW OFFICES
P.O. 130X 150734

Nashville, TN 37215--073

.1 avier 131eichmar

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

NeW York7 NY 10019

Peter Q. 13assett
ALSTON & 131RD

1201 West Peachtree St.
Atlanta, GA 30309--342

George E. 13arrett

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Lauren S. Antonino
CHITWOOD & HARLEY
1230 Peachtree St., N.E.
2900 Promenade 11
Atlanta, GA 30309

Amy 13 Amy E. Ferguson
GLANKER BROWN
One Commerce Square
Seventeenth Floor
1\/lemphis7 TN 38103

Shpetim Ademi

ADEl\/H & O'REILLY, LLP
3620 East Layton Ave.
Cudahy7 WI 53110

Guri Ademi

ADEl\/H & O'REILLY, LLP
3620 East Layton Ave.
Cudahy7 WI 53110

Ramzi Abadou

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13]31NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

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Honorable 13ernice Donald
US DISTRICT COURT

